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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ROBERT STOUD CIVIL ACTON
Plaintiff
vs.
SUSQUEHANNA COUNTY

Defendant : No. 3:17-CV-2183-MEM
PRE-TRIAL MEMORANDUM

Date conference was held by counsel:

A. A brief statement as to federal court jurisdiction.

This court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331
and 1343. The court can exercise supplemental Jurisdiction over plaintiff's claims under

PHRA pursuant to 28. U.S.C. § 1337.

 

B, A summary statement of facts and contentions as to liability.

Background of the case was recently addressed in the Court's
Memorandum and Order on Defendant's Summary Judgment Motion. Plaintiff claims
he was subjected to a hostile work environment in retaliation for investigating and
reporting an incident of sexual harassment.

C. A comprehensive statement of undisputed facts as agreed to by counsel
at the conference of attorneys required by Local Rule 16.3. No facts should be denied
unless opposing counsel expects to present contrary evidence or genuinely challenges
the fact on credibility grounds. The parties must reach agreement on uncontested facts
even though relevancy is disputed.

All relevant facts are in dispute.

 
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D. A brief description of damages, including, where applicable:

(1) Principal injuries sustained:

Loss of past and future wages.
(2) Hospitalization and convalescence:
(3) present disability:

(4) Special monetary damages, loss of past earnings, medical expenses,
property damages, etc.:

(5) Estimated value of pain and suffering, etc:

(6) Special damage claims:

E. Names and addresses of witnesses, along with the specialties and
qualifications of experts to be called.

Patricia Staples — Expert Witness on Human Resources and Management
Robert Stoud

Maggie McNamara

Mary Ann Warren

Alan Hall

Jeanne Conklin — Human Resource Director

Michael Giangrieco

Lana Adams

Stephen Janoski

F, Summary of testimony of each expert witness.

Patricia Staples will opine on how the actions of the Defendant comply
with standard and appropriate human relations and management practices.
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G. Special comment about pleadings and discovery, including depositions
and the exchange of medical reports.

No comments.

H. A summary of legal issues involved and legal authorities relied upon.

See Motions in Limine

I. Stipulations desired.

None.
J. Estimated number of trial delays.
3-4.
K. Any other matter pertinent to the case to be tried.
No.
L. Pursuant to Local Rule 16.3 append to this memorandum a prenumbered

schedule of exhibits, with brief identification of each, on the clerk’s Exhibit Form.

See attached.

M. Append any special verdict questions which counsel desires to submit.

Standard questions are agreeable.

N. Defense counsel must file a statement that the person or committee with
settlement authority has been notified of the requirements of and possible sanctions
under Local Rule 16.2.

Agreed.
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O. Certificate must be filed a required under Local Rule 30.10 that counsel
have met and reviewed depositions and videotapes in an effort to eliminate
irrelevancies, side comments, resolved objections, and other matters not necessary for
consideration by the trier off act.

Agreed.

P. In all trials without a jury, requests for findings of both fact and law shall be
submitted with this Memorandum as required under Local Rule 48.2.

N/A.

Respectful “a submitted:

K_(7fp—

Gerard M. Karam, Esq.
Attorney for Plaintiff, Robert Stoud
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LIST OF EXHIBITS

 

 

 

 

 

CASE CAPTION: Robert Stoud v. Susquehanna County CASE NUMBER: 3:17-2183 Civil

MIDDLE DISTRICT OF PENNSYLVANIA JUDGE:

PTF |DFT | DESCRIPTION OF OBJECT OR ITEM | IDENITFIED | EVIDENCE |RULING | WITNESS ON STAND
x | | November 1, 2016 correspondence from | all

 

Michael Giangrieco to Elizabeth Arnold
| | used as Exhibit #1 in Mary Ann Warren
deposition.

| — |_Defendant object to the admission. |

 

 

x | |_12/30/2015 letter to Richard Ely from
Robert Stoud used as Exhibit 1 in

 

 

 

 

 

|_| McNamara deposition. ali

x | | 6/10/2016 letter from Stoud to Commissioner’ jal

x 6/10/2016 letter from Stoud to Commissioners jal
(re: McNamara)

x 6/13/2016 letter from Stoud to Commissioner§ jal
Defendant's response to Stoud and McNamara | jal

 

EEOC Complaints. —
Defendant objects to admission. |

 

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